                     Case 6:24-cv-00202-DNH-TWD                         Document 6                  Filed 03/14/24          Page 1 of 1

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF NEW YORK



Plaintiff / Petitioner:                                                                                 AFFIDAVIT OF SERVICE
SARAH MATTHEWS and JEFFREY MATTHEWS, Individually, and as                                                        Index No:
Parents and Natural Guardians of M.M. 1, an infant under the                                                    6:24-CV-0202
age of 18 years and M.M. 2, an infant under the age of 18 years,                                                DATE FILED:
Defendant / Respondent:                                                                                          02/09/2024
BRUNSWICK CORPORATION d/b/a MERCURY MARINE, by and
through its Agents, Officers, and/or Employees,




The undersigned being duly sworn, deposes and says; deponent is not a party herein, is over 18 years of age. That on Mon, Feb 19 2024 AT
10:03 AM AT 6250 PIONEER ROAD, FOND DU LAC, WI 54935 deponent served the within CIVIL CASE ASSIGNMENT & FILING ORDER NOTICE,
SUMMONS IN A CIVIL ACTION, COMPLAINT, CIVIL COVER SHEET on BRUNSWICK CORPORATION d/b/a MERCURY MARINE, by and through its
Agents, Officers, and/or Employees,


     i Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person
       described as said defendant therein.
 X         Corporation: By delivering a true copy of each to RITA HOLBACK personally, deponent knew said corporation so served to be the
           corporation described, and knew said individual to be AUTHORIZED TO ACCEPT thereof.
           Suitable Person: by delivering thereat, a true copy of each to                            a person of suitable age and discretion.
           Affixing to Door: by affixing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or a
           person of suitable age or discretion thereat, having called thereon; at

           Mailing: Deponent also enclosed a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at defendant's
           last known residence,                       , and depositing said wrapper in a post office, official depository under the exclusive care
           and custody of the United States Post Office, department, with New York State. Mailed on
L_J Military Service: I asked the person spoken to whether defendant was in active military service of the United States or of the State of
           New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no military uniform. The
           source of my information and the ground of my belief are the conversations and observations above narrated. Upon information and
           belief I aver that the defendant is not in the military service of New York State or of the United States as that term is defined in either
           the State or in the Federal statutes.

Description:
Age: 50                     Ethnicity:   Caucasian                                Gender:      Female                          Weight: 175
                                                                                                                                      AUTHORIZED TO
Height:       5'6"                         Hair:     Brown                                  Eyes:                      Relationship: ACCEPT
Other

                                                                            Sworn to before me on         f--ffb (9 tzoz---4

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Kenneth J. Klewicki c                                                       Notary Public                                                                ZOZ6
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